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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                        STATESBORO DIVISION
LAWRENCE M. DRAYTON,

      Movant,

v.                                             Case No. CV615-036
                                                        CR612-018
UNITED STATES OF AMERICA,

      Respondent.

                    REPORT AND RECOMMENDATION

      After pleading guilty to conspiracy to possess with intent to

distribute, and to distribute, cocaine, Lawrence Drayton moves under 28

U.S.C. § 2255 to vacate his conviction. Doc. 1102. He claims that (1) his

plea agreement’s collateral attack waiver denied him “the assistance of

unconflicted counsel;” (2) the government “intentionally misrepresented

. . . facts in order to obtain an indictment and ensure a guilty plea;” (3)

his plea “was constitutionally unintelligent . . . because he was unaware

of the consequences flowing from the plea-agreement waiver;” and (4) his

attorney, Matthew Hube, “misunderstood the law” of career offender
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sentence enhancements. 1 Doc. 1132 at 4. Review of the parties’ briefing

shows his motion should be denied.

I. BACKGROUND

      In April 2013, Drayton pled guilty to conspiracy pursuant to an

agreement with the Government that contained direct appeal and

collateral attack waivers. Doc. 788 at 6-7; doc. 949. An ensuing

Presentence Investigation Report (PSI) designated him a career offender,

assigned a total offense level of 29 and criminal history category of VI,

and recommended a 151-188 month sentence. Drayton objected to his

criminal history score, career offender enhancement, and the points

added for his role in the offense.         See doc. 762. The district judge

ultimately overruled those objections, adopted the PSI’s findings of facts

and guidelines calculation, and sentenced him to 188 months’

imprisonment. Doc. 797. Drayton appealed that sentence, but the

Eleventh Circuit dismissed it because of his plea agreement’s appeal

waiver. Doc. 1016. He then timely filed the present motion. Doc. 1102.


1
  After the government responded to his original motion, Drayton moved to amend
and add two new claims. Doc. 1132. The Court GRANTS the motion because doing
so will not prejudice the Government. Neither new claim merits a response, much
less an evidentiary hearing. The Court also GRANTS his motion to extend time to
submit a reply brief. Doc. 1123. That brief has already been filed and its arguments
will be considered.
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II. ANALYSIS

     A. Grounds 1 & 3

     Drayton first claims that his “plea-agreement waiver constructively

denied [him] the assistance of unconflicted counsel.” Doc. 1132 at 4. By

“insulat[ing] counsel from counsel’s own misbehavior whether negligent

or intentional,” the waiver “created an actual conflict of interest” that,

according to Drayton, violated his Sixth Amendment right to counsel. Id.

     To find attorney ineffectiveness based on a purported conflict of

interest, Drayton must show “first, that his attorney had an actual

conflict of interest, and second, that the conflict adversely affected

counsel’s performance.”    Pegg v. United States , 253 F.3d 1274, 1277

(11th Cir. 2001); see also Cuyler v. Sullivan , 446 U.S. 335, 348 (1980).

To show an actual conflict, “[a] § 2255 [movant] must show ‘inconsistent

interests and must demonstrate that the attorney made a choice between

possible alternative courses of action.’” Id. (emphasis added). Proving

“adverse effect[s],” on the other hand, requires showing: “(1) the

existence of a plausible alternative defense strategy or tactic that might

have been pursued; (2) that the alternative strategy or tactic was

reasonable under the facts; and (3) a link between the actual conflict and



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the decision to forego the alternative strategy of defense.”              Pegg, 253

F.3d at 1278. In guilty plea cases, courts look at “whether the attorney’s

actual conflict adversely affected the defendant’s decision to plead

guilty.” Id.

      No actual conflict existed between Drayton and Hube because of

the appeal and collateral attack waivers in his plea agreement. Long has

the Eleventh Circuit approved the use of such waivers and never has it

found one to inherently generate a conflict. See United States v. Benitez-

Zapata, 131 F. 3d 1444, 1446 (11th Cir. 1997) (waivers enforced if the

court questions the defendant about it or if the record otherwise shows

he understood its full significance). The Georgia Supreme Court -- the

ultimate arbiter of ethical rules that apply to attorneys practicing in

Georgia, including in this Court 2 -- also approves of such waivers, see


2
  See 28 U.S.C. § 530B (“An attorney for the [Federal] Government shall be subject
to State laws and rules, and local Federal court rules, governing attorneys in each
State where such attorney engages in that attorney’s duties. . . .”); O.C.G.A. § 15-2-
8(5) (Supreme Court of Georgia has authority to regulate admission of attorneys to
practice law in Georgia); Wallace v. Wallace , 225 Ga. 102, 107 (1969) (“In 1963 the
[Georgia] General Assembly passed an Act (Ga. L. 1963, p. 70) which recites that
‘The Supreme Court of this State shall be authorized . . . to adopt rules and
regulations for the organization of a unified bar and to define the rights, duties and
obligations of members, including payment of a reasonable license fee, and to
otherwise regulate and govern the practice of law in this State.”); S.D. Ga. L.R.
83.5(d) (“The standards of professional conduct of attorneys appearing in a case or
proceeding, or representing a party in interest in such a case or proceeding, are
governed by the Georgia Bar Rules of Professional Conduct. . . .”).

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Allen v. Thomas , 265 Ga. 518, 520 (1995) (“[W]aivers of the right to

appeal and waivers of the right to seek post-conviction relief” each

“comport[] with public policy[] and [are] enforceable.”), and has never

found conflicts. In fact, Fed. R. Crim P. 11(b)(N) expressly contemplates

appeal and collateral attack waiver provisions. Doing so would be

strange indeed if such provisions violated a defendant’s Sixth

Amendment rights. 3

      What’s more, Drayton has made no showing that, no matter his

interests (inconsistent or not), Hube “made a choice between possible

alternative courses of action.”       Pegg, 253 F.3d at 1278. In essence, he

claims that inconsistent interests alone suffice to prove a conflict and

void his plea agreement. That’s never been the law and isn’t the case

here. 4



3
  Many § 2255 movants, Drayton included, cite to U.S. ex rel. U.S. Attorneys ex rel.
Eatern, Western Districts of Kentucky v. Kentucky Bar Ass’n , 439 S.W.3d 136 (Ky.
2014), to support their conflict of interest claims. That court indeed held that
defense attorneys may not ethically advise clients regarding plea agreements that
contain collateral attack waivers encompassing ineffective assistance claims. Id. at
151. But Kentucky state court decisions do not bind this Court. Nor do they
persuade since, in this case, they are based on a reading of Kentucky’s state rules of
professional conduct that is at odds with how Georgia’s Supreme Court interprets
this state’s rules.

4
 Were that true, Sixth Amendment-level conflicts would beset almost all attorney-
client relationships. Take, for example, the attorney who owns stock in Exxon

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      Regardless, Drayton has always been free -- whether waivers create

inherent conflicts or not -- to argue that his attorney was ineffective in

negotiating, communicating, or otherwise facilitating the plea bargain

itself ( e.g ., that counsel negligently failed to convey a better plea offer, or

lied to or threatened Drayton in some way). So even assuming arguendo

that counsel’s participation here amounts to some sort of ethical conflict,

it is beside the point. United States v. Garst , 2015 WL 631402 at * 4-5 (D.

Kan. Feb. 13, 2015) (rejecting same “inherent conflict of interest”

argument since “‘a plea agreement waiver of post-conviction rights does

not waive the right to bring a § 2255 petition based on ineffective

assistance of counsel claims challenging the plea or the waiver’”)

(quoting United States v. Cockerham , 237 F.3d 1179, 1183–87 (10th Cir.

2001)). 5



through a mutual fund, but represents a BP executive facing criminal charges related
to the Gulf of Mexico oil spill. The attorney’s net worth might increase if BP suffered
from the litigation and sold assets to Exxon to stay afloat. His interests are in a very
real sense at odds with his client’s and, under Drayton’s theory of conflicts, would
preclude representation. Nevertheless, those inconsistent interests could never
undergird an ineffective assistance claim unless they prompted the attorney to choose
a course of action that adversely affected his client. See Pegg , 253 F.3d at 1278.

5
  This reasoning aligns with United States v. White , 307 F.3d 336, 343 (5th Cir. 2002)
(“An ineffective assistance of counsel argument survives a waiver of appeal only
when the claimed assistance directly affected the validity of that waiver or the plea
itself.”), quoted in Williams v. United States , 396 F.3d 1340, 1341 (11th Cir. 2005)

                                           [;
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      Even if it weren’t beside the point, Drayton cannot show that the

conflict adversely affected counsel’s performance.         See Pegg , 253 F.3d at

1278. He decided to plead guilty in the face of overwhelming guilt

evidence. 6 By doing so, even with appeal and collateral attack waivers,

he avoided a Guidelines recommended sentence of 360 months to life and

instead faced a 151-188 month recommendation (and actually received

188 months). PSI ¶ 68. Put differently, “Drayton would have ple[d]

guilty whether or not there was a collateral attack waiver in his plea

agreement because his guilty plea provided an extraordinary benefit to

him in the face of overwhelming evidence of his guilt.” Doc. 1114 at 7.

Hence, there was no “plausible alternative defense strategy” Drayton

could have pursued that “was reasonable under the facts.”                Pegg, 253

F.3d at 1278. His conflict of interest claim thus fails. 7


(“It is well-settled that sentence-appeal waivers are valid if made knowingly and
voluntarily.”).

6
 Wiretapped conversations captured Drayton discussing drug sales (PSI ¶ 8); a
confidential informant purchased drugs from him while wearing a recording device
(PSI ¶ 10); and co-defendants would have testified that Drayton sold drugs. PSI ¶ 8.

7
  In his reply brief, Drayton attempts to reframe this claim by arguing that he
unintelligently pled guilty because his plea agreement contained a waiver provision
he didn’t understand. Doc. 1155 at 2-3. By shifting the focus away from attorney
incompetence, he aims to avoid the Cuyler/Pegg conflict of interest test and its
demanding “adverse effects” inquiry. See id.



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      In Ground Three, Drayton actually claims that his “guilty plea was

constitutionally unintelligent, thus invalid, because he was unaware of




    That feint won’t work. Drayton’s opening brief’s first claim revolves entirely
around attorney ineffectiveness because of a conflict of interest. See doc. 1103 at 3
(defining “collateral attack” as one “from the side . . . by claiming that counsel was at
fault for the error”); id. at 4 (citing Strickland v. Washington , 466 U.S. 668 (1984)
and Cuyler as the legal standards applicable to his claim). Disclaiming that argument
now is mere gamesmanship and will not be countenanced. See Herring v. Sec'y, Dep't
of Corr. , 397 F.3d 1338, 1342 (11th Cir. 2005) (“Arguments raised for the first time in
a reply brief are not properly before a reviewing court.” United States v. Coy , 19 F.3d
629, 632 n. 7 (11th Cir. 1994) (citation omitted); see also United States v. Whitesell ,
314 F.3d 1251, 1256 (11th Cir. 2002) (court need not address issue raised for first
time in reply brief), cert. denied, 539 U.S. 951, 123 S.Ct. 2628, 156 L.Ed.2d 643
(2003); United States v. Dicter , 198 F.3d 1284, 1289 (11th Cir. 1999) (issue raised for
first time in reply brief waived); United States v. Martinez , 83 F.3d 371, 377 n. 6
(11th Cir. 1996) (declining to consider arguments raised for the first time in a reply
brief).”).

   Nor can Drayton’s pro se status save him from that result. For starters, Frank
Amodeo, a disbarred former attorney who now spends significant time drafting §
2255 motions for other prisoners, see www.frankamodeo.com/samples.html, assisted
him with his brief. Doc. 1155 at 7. That alone sets this case apart from those where
courts liberally construe pro se filings. Even if the Court held Drayton to the typical
“less stringent standard,” Griffin v. Lockheed Martin Corp. , 2016 WL 1397707 at * 2
(11th Cir. Apr. 11, 2016); Tannenbaum v. United States , 1262, 1263 (11th Cir. 1998)
(applying the “less stringent” standard to § 2255 claims), it wouldn’t convert an
ineffective assistance claim based on a conflict of interest into an “I unintelligently
pled guilty” claim (Drayton already presses one of those anyway). And even if it did,
an unintelligent plea claim, as discussed in more detail below, nevertheless fails
because his signature on the plea agreement and testimony at his plea hearing make
clear that he understood the nature of the rights he waived. See doc. 788 at 10 (plea
agreement signature); doc. 949 at 25-26 (plea hearing transcript; Drayton testified
that he understood the appeal and collateral attack waivers in his plea agreement);
Winthrop-Redin v. United States , 767 F.3d 1210, 1216 (11th Cir. 2014) (“[T]he
representations of the defendant, his lawyer, and the prosecutor at [a plea] hearing,
as well as any findings made by the judge accepting the plea, constitute a formidable
barrier in any subsequent collateral proceedings.”).




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the consequences flowing from the plea-agreement waiver.” Doc. 1132 .8

As discussed above in footnote seven, he knew quite well what rights he

gave up, the nature of those rights and the charges against him, and the

possible penalties he faced both with and without the plea agreement.

Again, he signed his name to the agreement, which itself explained what

he gave up and the consequences he faced. See doc. 788 at 10. 9 And the

district judge thoroughly covered that same ground when he found that

Drayton knowingly and intelligently pled guilty.                   See doc. 949 at 18
8
 He does not claim any attorney misconduct unlike in his attempted re-branding of
Ground One.

9
    Drayton signed his name under a passage that read:

     I have read the foregoing Plea Agreement . . . and I understand what it says
     and means, and by my signature hereunder I swear or affirm under penalty of
     perjury that the matters and facts set forth therein are true, and accurately
     and correctly state the representations that have been made to me by my
     attorney and government agents and/or prosecutors, and accurately set for the
     terms and conditions of the plea agreement that has been reached by my
     attorney on my behalf and with my permission.

Doc. 788 at 10 (emphasis added).

    Drayton is reminded that perjury is a felony and that liars may be prosecuted. See
United States v. Roberts , 308 F.3d 1147, 1155 (11th Cir. 2002) (defendant's falsely
subscribing to statement in his habeas petition that he had not previously filed a §
2255 motion was "material" for purposes of perjury prosecution; statement fooled the
clerk of the court into accepting the "writ" for filing, and led the magistrate judge to
consider its merits until she discovered that the "writ" was a successive § 2255 motion
in disguise); United States v. Dickerson , CR608-36, doc. 1 (S.D. Ga. Dec. 11, 2008) (§
2255 movant indicted for perjury for knowingly lying in his motion seeking collateral
relief from his conviction); id. , doc. 47 (guilty verdict), cited in Colony Ins. Co. v. 9400
Abercorn, LLC , 866 F. Supp. 2d 1376, 1378 n. 2 (S.D. Ga. 2012) (collecting sanction
cases).

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(asked if he had any complaints with Hube’s representation, or any other

ways in which the judicial system had treated him, Drayton said no); id.

at 19 (stating that Hube had been truthful at all times and never tried to

force him to plead guilty); id. at 20 (Q: “Are you satisfied with Mr. Hube

and the way he has represented you in this case? A. Yes, sir.”); id. at 22

(reviewing the possible sentence Drayton faced); id. at 25 (reviewing the

appeal and collateral attack waivers and ensuring that Drayton

understood each); id. at 29 (“Q: Do you fully understand all rights and

procedures . . . that you are giving up by pleading guilty, including your

right to an appeal?” A. Yes, sir.”) (emphasis added).

     Drayton argues that the plea colloquy “does not remedy the defect”

caused by Hube’s conflict of interest. Doc. 1155 at 5. Instead, it “reveals

not a single mention that the plea waiver excuses defense counsel

misconduct,” or that he waived “his right to seek a writ of habeas

corpus.” Id. Only in an alternate universe could the plea colloquy be

read to exclude those two items. The district judge made abundantly

clear that the waivers barred Drayton from appealing under any

circumstances (including on ineffective assistance grounds) unless the

Court sentenced him to an above-Guidelines sentence, or the



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Government itself appealed. Doc. 949 at 25-26. He also highlighted that

the waiver included collateral attacks, like habeas petitions and § 2255

motions. Id. at 25. Most importantly, Drayton affirmed multiple times

that he understood the nature of the waivers and the rights he gave up.

Id. at 25, 29. His conclusory allegations to the contrary cannot suffice to

overcome “the strong presumption that . . . statements made under oath

at [his] plea colloquy” are true. Winthrop-Redin , 767 F.3d at 1217. His

“unintelligent-plea” claim thus fails.

     B. Ground 2

     Drayton’s second claim nominally surrounds “illicit romantic or

sexual relations” between the Assistant United States Attorney assigned

to this case and the lead case agent investigating Drayton and others in

the conspiracy. Doc. 1132 at 3. He believes those relations led the AUSA

“not to disclose [to the grand jury] . . . conduct designed to either create

or present false or unreliable evidence.” Id. In particular, says Drayton,

the grand jury heard no testimony that connected him to a conspiracy.

Doc. 1103 at 11. Instead, the AUSA elicited testimony from the case

agent that “during his investigation, [Drayton] was identified as a

cocaine and marijuana distributor,” but never a conspirator.      Id. That


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omission led to an improper indictment which “ensureEd his] guilty

plea.” Doc. 1132 at 4.

      Drayton’s knowing and voluntary guilty plea, however, waived all

non-jurisdictional pre-plea claims he may have had.           See Tollett v.

Henderson , 411 U.S. 258, 267 (1973) (“When a criminal defendant has

solemnly admitted in open court that he is in fact guilty of the offense

with which he is charged, he may not thereafter raise independent claims

relating to the deprivation of constitutional rights that occurred prior to

the entry of the guilty plea.”); Keye v. Perry , 2015 WL 3902330 at * 3

(S.D. Ga. June 24, 2015) (“A knowing and voluntary guilty plea waives

all non-jurisdictional, pre-plea defects, including ineffective assistance of

counsel with respect to issues not implicating the voluntariness of the

plea.”) (citing Wilson v. United States , 962 F.2d 996, 997 (11th

Cir.1992)), adopted, 2015 WL 5116830 (S.D. Ga. Aug. 28, 2015). Because

claims involving prosecutorial conduct before a grand jury fall into that

basket, see Tollett , 411 U.S. at 266 (claim of unconstitutional grand jury




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selection procedures provided no ground for “federal collateral relief . . .

after a criminal defendant pleads guilty”), 10 ground two also fails.

        C. Ground Four

        In his final claim, Drayton contends that Hube provided him with

ineffective assistance 11 by misunderstanding the law governing the use of

[his prior convictions] to designate him a career offender and increase

the commencement point for the court’s § 3553(a) analysis.” Doc. 1132

at 3. Under both “the categorical and modified categorical approach,”

says Drayton, his “Georgia convictions fail . . . to qualify as career

offender predicates.”         Id. Hube’s “miscomprehension resulted in a
10
   See also United States v. Boniface , 631 F.2d 1228, 1229 (5th Cir. 1980) (guilty plea
barred claim that “indictment was defective because the actual indictment was
clandestinely constructed by the United States Attorney after the grand jury voted on
it and that it was subsequently signed by the Foreman separate and apart from the
grand jury”); United States v. Cain , 134 F.3d 1345, 1352 (8th Cir. 1998) (defendant
waived prosecutorial misconduct claims by pleading guilty); United States v.
Simmons , 763 F.2d 529, 533 (2d Cir. 1985) (defendant's conditional guilty plea did
not specifically preserve defendant's prosecutorial misconduct claim).

11 To prevail on this claim, Drayton:


     must show ‘that (1) counsel's representation fell below an objective standard of
     reasonableness, and (2) counsel's deficient performance prejudiced the
     defendant.’ Hollis v. Sec'y, Fla. Dep't of Corr. , 2015 WL 5847258 at * 1 (11th
     Cir. Oct. 8, 2015) (citing Strickland v. Washington , 466 U.S. 668, 687 (1984)).
     ‘[P]erformance is deficient when it falls below an objective standard of
     reasonableness‘ and is ‘outside the wide range of professionally competent
     assistance.’ Id. And prejudice occurs if ‘but for counsel's unprofessional errors,
     the result of the proceeding would have been different.’ Id.

Murray v. United States , 2015 WL 7069345 at * 2 (S.D. Ga. Nov. 12, 2015).

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failure to object to the [PSI’s] conclusions; a failure to argue against the

career designation at sentencing; and a failure to raise the sentencing

errors on direct appeal.” Id.

       To begin, Hube did file extensive objections to Drayton’s PSI,

including to the career offender recommendation.          See doc. 762. He

argued that the prior drug convictions used as predicate offenses

shouldn’t qualify because they occurred within two years of each other

and almost a decade before Drayton’s present arrest, not that they

categorically could not qualify.      Id. at 7-8. That, however, almost

certainly is because they categorically do qualify as predicates.

       Under U.S.S.G. § 4B1.2(b)(2), a “controlled substance offense” (all

of Drayton’s career offender predicates fall under that designation, not

the crime of violence category), 12 is one “punishable by imprisonment . . .

exceeding one year, that prohibits the manufacture, import, export,

distribution, or dispensing of a controlled substance . . . or the possession

of a controlled substance with intent to manufacture, import, export,

distribute, or dispense.” Drayton was convicted of conspiracy to possess


12
  Predicate convictions must be either a “crime of violence,” or a “controlled
substance offense.” U.S.S.G. § 4B1.1(a).



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marijuana with intent to distribute in 2000 (PSI ¶ 31), possession of

marijuana with intent to distribute in January 2002 (PSI ¶ 33), and

possession of cocaine with intent to distribute later that year in

September. PSI ¶ 34. All of those crimes carry possible prison sentences

“exceeding one year,” and both cocaine and marijuana are controlled

substances. The convictions thus qualify as career offender predicates

under § 4B1.1. Hube “miscomprehend[ded]” (doc. 1132 at 3) nothing by

not arguing to the contrary, and, in turn, provided effective assistance. 13

III. CONCLUSION

       Accordingly, Lawrence Drayton’s § 2255 motion should be

DENIED . His motions to amend (doc. 1132) and for an extension of

time (doc. 1123) are           GRANTED . Applying the Certificate of

Appealability (COA) standards set forth in Brown v. United States , 2009

WL 307872 at * 1–2 (S.D. Ga. Feb.9, 2009), the Court discerns no COA–


13
   Drayton’s categorical approach/modified categorical approach (doc. 1132 at 3)
argument has no application to controlled substance offense predicates. Those terms
refer to methods courts use to determine whether certain prior convictions qualify as
crimes of violence. See, e.g. , Descamps v. United States , ___ U.S. ___, 133 S.Ct. 2276,
2282 (2013) (explaining the difference in the two approaches and under what
circumstances each is used). He does have one possible crime of violence predicate
(during his January 2002 arrest, in addition to his drug related conduct, Drayton
obstructed a law enforcement officer by “striking [the agent] repeatedly with his fists
and elbows,” PSI ¶ 33), but whether it qualifies doesn’t matter because of his three
controlled substance offenses. See PSI ¶¶ 31, 33, 34.

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worthy issues at this stage of the litigation, so no COA should issue

either. 28 U.S.C. § 2253(c)(1), (2); Rule 11(a) of the Rules Governing

Section 2254 Cases (“The district court must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant.”)

(emphasis added). Any motion for leave to appeal in forma pauperis

therefore is moot.

        SO REPORTED AND RECOMMENDED , this 9th day of May,

2016.



                                    UNITED STATES MAGISTRATE JUDGE
                                    SOIJThIERN DISTRICT OF GEORGIA




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